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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


MEDIA MATTERS FOR AMERICA, et al.,

                       Plaintiffs,                    Civil Action No. 24-cv-147

       v.

WARREN KENNETH PAXTON JR., in his
official capacity as Attorney General of the
State of Texas,

ANDREW BAILEY, in his official capacity
as Attorney General of the State of Missouri,

                       Defendants.


                                     JOINT STATUS REPORT



       As directed by the Court’s May 8, 2024 minute order, the parties met and conferred to

discuss: (1) modifying deadlines in State of Missouri, ex rel. Andrew Bailey v. Media Matters for

America, Case No. 24AC-CC02291 (Cole Cnty. Cir. Ct.); (2) setting a schedule for outstanding

briefing in this matter; and (3) appropriate next steps in this matter as to Plaintiffs’ claims against

Defendant Paxton. The parties jointly propose as follows:

       Proceedings as to Defendant Bailey. With respect to the Missouri state court action,

Plaintiffs and Defendant Bailey have agreed to a further 21-day extension of Media Matters’s time

to respond to the Petition and a 30-day extension of Media Matters’s time to respond to Attorney

General Bailey’s Requests for Production.

       With respect to this action, Plaintiffs and Defendant Bailey have agreed to set May 20,

2024 as Plaintiffs’ deadline to file a reply in support of their motion for a preliminary injunction

and temporary restraining order, at which point that motion will be fully briefed. The same
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proposed deadline shall apply for Plaintiffs’ response to Defendant Bailey’s motion to dismiss.

Defendant Bailey may have until June 4, 2024 to file a reply in support of his motion to dismiss.

Under this proposal, the relevant deadlines are as follows:

   •   May 20, 2024: Plaintiffs’ Deadline to File a Reply in Support of their Preliminary
       Injunction/Temporary Restraining Order Motion and Opposition to Defendant Bailey’s
       Motion to Dismiss;

   •   June 4, 2024: Defendant Bailey’s Deadline to File a Reply in Support of his Motion to
       Dismiss;

   •   June 10, 2024: Media Matters’s Deadline to Respond to the Missouri Petition;

   •   June 19, 2024: Media Matters’s Deadline to Respond to the Missouri Requests for
       Production.

       Proceedings as to Defendant Paxton. Plaintiffs and Defendant Paxton agree that a stay of

district court proceedings as to Paxton is appropriate pending resolution of Defendant Paxton’s

appeal of this Court’s April 12, 2024 preliminary injunction order. They disagree, however, as to

the effect of Defendant Paxton’s failure to timely file an answer to the original complaint.

Plaintiffs’ view is that Paxton has forfeited the opportunity to dispute factual assertions in the

complaint, at least to the extent not already disputed in the parties’ briefing on Plaintiffs’

preliminary injunction motion. Defendant Paxton does not accept that position and reserves the

right to litigate facts later as necessary on remand and asks that he be granted 14 days from

conclusion of the now-pending appeal to file an answer to the original complaint. The parties agree

that this dispute need not be resolved prior to resolution of the appeal.



Dated: May 10, 2024                                   Respectfully submitted,
                                                      /s/ Aria C. Branch




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